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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  MICHAEL GONIDAKIS, et al.,                      :
                                                  :
                 Plaintiffs,                      :   Case No. 2:22-cv-0773
                                                  :
         v.                                       :   Chief Judge Algenon L. Marbley
                                                  :   Judge Amul R. Thapar
  OHIO REDISTRICTING                              :   Judge Benjamin J. Beaton
  COMMISSION, et al.,                             :
                                                  :   Magistrate Judge Elizabeth P. Deavers
                 Defendants.                      :

                    ORDER SETTING LOCAL RULE 65.1 CONFERENCE

         This matter is set for a status conference pursuant to Local Rule 65.1 on Monday, April

  11, 2022, beginning at 9:00 a.m. Counsel for the parties are to appear in Courtroom 2, Room 311

  of the U.S. Courthouse located at 85 Marconi Boulevard in Columbus, Ohio, unless they seek and

  obtain leave to participate remotely. Counsel should note the change in courtroom number

  compared to prior hearings. The status conference may not be continued by stipulation of the

  parties or counsel, but only by an order of the Court on good cause shown. Proceedings will be

  open to the interested public.

         At the status conference, the Court will address the Simon Parties’ Second Motion for a

  Temporary Restraining Order (ECF No. 147) and any issues necessary for a just resolution of the

  pending action.

         Any parties wishing to file briefs in response to the Simon Parties’ Motion shall do so by

  12:00 noon on Thursday, April 7, 2022. Any reply brief by the Simon Parties shall be due by

  12:00 noon on Friday, April 8, 2022.
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         IT IS SO ORDERED.



                                       ALGENON L. MARBLEY
                                       CHIEF UNITED STATES DISTRICT JUDGE


                                       s/ Amul R. Thapar
                                       AMUL R. THAPAR
                                       UNITED STATES CIRCUIT JUDGE


                                       s/ Benjamin J. Beaton
                                       BENJAMIN J. BEATON
                                       UNITED STATES DISTRICT JUDGE


  DATED: April 5, 2022
